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                IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                NO. 4:05CR00305-003 SWW

TIMOTHY SHANE BARTON



                                   ORDER

      Pending before the Court is the government's motion for dismissal

of the indictment against the above defendant pursuant to Rule 48(a) of

the Federal Rules of Criminal Procedure. The Court finds that the motion

should be granted.

      IT IS THEREFORE ORDERED that the government’s motion be, and it is

hereby granted, and the indictment pending against separate defendant

Timothy Shane Barton in the above case hereby is dismissed without

prejudice.

      IT IS SO ORDERED this 7th day of September, 2006.



                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
